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               IN THE UNITED STATES DISTRICT COURT FOR THE
                    DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )
v.                                  )   Case 2:13-cv-0999-RJS-PMW
                                    )
SERGIO FERNANDO SOSA and            )
SERGIO CENTRO LATINO                )
                                    )
                 Defendants         )
______________________________________________________________________

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )   Case 2:16-cv-0352-RJS-PMW
                                    )   (Consolidated)
DAVID H. SOSA; CINTHIA T. C.        )
GALEANO; ALMA ROSE GODINEZ;         )
and SERGIO CENTRO LATINO,           )
                                    )
                  Defendants        )
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                UNITED STATES’ UNOPPOSED MOTION TO STAY CASE

       The United States of America hereby moves for a stay of the entire case in the

above-captioned case.

       1.       At the end of the day on December 21, 2018, the appropriations act that

had been funding the Department of Justice expired and appropriations to the

Department lapsed. The same is true for several other Executive agencies, including

the Internal Revenue Service. The Department does not know when funding will be

restored by Congress.

       2.       Absent an appropriation, Department of Justice attorneys and employees

of the IRS are prohibited from working, even on a voluntary basis, except in limited

circumstances, including “emergencies involving the safety of human life or the

protection of property.” 31 U.S.C. § 1342.

       3.       Undersigned counsel for the Department of Justice therefore requests a

stay of this case until Congress has restored appropriations to the Department.

       4.       If this motion for a stay is granted, undersigned counsel will notify the

Court as soon as Congress has appropriated funds for the Department. The

Government requests that, at that point, all current deadlines for the parties be

extended to commensurate with the duration of the lapse in appropriations.

       5.       Counsel for Defendants has advised undersigned counsel that she does

not oppose this motion.

       Therefore, although we greatly regret any disruption caused to the Court and the

other litigants, the Government hereby moves for a stay of the entire case until



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Department of Justice attorneys are permitted to resume their usual civil litigation

functions.

       Respectfully submitted this 10th day of January, 2019.

                                          RICHARD E. ZUCKERMAN
                                          Principal Deputy Assistant Attorney General

                                          /s/Rick Watson
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                              CERTIFICATE OF SERVICE

       It is hereby certified that service of the foregoing was completed on January 10,

2019, by filing that document through the Court’s electronic filing system, which effected

service on the following:

       TESSA MEYER SANTIAGO
       Lincoln Law, LLP
       921 W. Center
       Orem, Utah 84507

       Attorneys for Defendants




                                                       /s/Rick Watson
                                                       Rick Watson
                                                       Trial Attorney, Tax Division
                                                       U.S. Department of Justice




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